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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


   PERSONALIZED MEDIA                  )
   COMMUNICATIONS, LLC,                )
                                       )
                           Plaintiff   )
                                       )
               v.                      )   Civil Action No. 2:15-cv-01366-JRG-RSP
                                       )   (Lead Case)
   APPLE, INC.,                        )
   ___________________________________ )
                                       )
   TPV INT’L (USA), INC.,              )   Civil Action No. 2:15-cv-01206-JRG-RSP
     ET. AL.,                          )   (Consolidated Case)
                           Defendants. )


               PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF
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   I.      INTRODUCTION AND BACKGROUND

           The PMC patents-in-suit 1 disclose a variety of inventions that relate, among other things,

   to decryption key management and signal detection at receiver stations. The inventions can be

   used to facilitate the secure delivery of encrypted programming content (e.g., television, radio,

   movies, music, print, and computer programming) to receiver stations along with control signals

   to enable the processing of the content and to generate output that is personalized and relevant to

   a user. PMC’s patented inventions also can be used to protect the content against piracy. 2 There

   are a number of terms in the asserted patent claims that it will benefit the jury for the Court to

   construe. With this goal in mind, PMC offers constructions, as explained below, that are con-

   sistent with the intrinsic evidence and should help the jury understand complex technological

   concepts with which they may not be familiar. 3 In sharp contrast, Defendants propose construc-

   tions that are laden with self-serving limitations that contradict the intrinsic evidence. The Court

   therefore should reject Defendants’ proposed constructions, as well as their vague claims that

   some of PMC’s patent claims are indefinite. Instead, the Court should adopt PMC’s construc-

   tions, which are in accord with the specifications and file histories of the patents-in-suit. 4

   II.     TERMS FOR CONSTRUCTION

         A.      Decrypting/Decryption; Encrypted; Decryption Key; Encrypted Dig-
                 ital Information Transmission

           PMC’s constructions are consistent with those agreed to by the parties and the district

   1
     The patents-in-suit in PMC’s case against Apple are attached to the Declaration of Lana
   Shiferman at Exs. A (U.S. Pat. 8,191,091), B (U.S. Pat. 8,559,635), C (U.S. Pat. 7,752,649) and
   D (U.S. Pat. 8,752,088). U.S. Pat. 4,694,490 is attached as Ex. E. The other exhibits referenced
   herein are also attached to the Shiferman Declaration.
   2
     PMC provides background information about the patents as part of its technology tutorial.
   3
     A chart of stipulated constructions and a side-by-side comparison of the proposed constructions
   for disputed terms are attached hereto for the Court’s convenience. Exs. F and G.
   4
     The 2’649 Patent is also asserted in the Vizio case, which is consolidated with this case for pre-
   trial proceedings. For efficiency purposes, the parties have briefed overlapping claim terms from
   the 2’649 Patent as part of the claim construction briefing for the June 28 Markman hearing.
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   court in PMC v. Scientific-Atlanta, Inc., C.A. No. 1:02cv824-CAP (N.D. Ga.), as well as by the

   PTO’s Board during reexaminations of two related PMC patents. 5 “Decryption” is “a method

   that uses a digital key in conjunction with an associated algorithm to decipher (render intelligible

   or usable) digital data.” Similarly, “encryption” is “an operation performed on digital data in

   conjunction with an associated algorithm and digital key to render the digital data unintelligible

   or unusable.” Ex. H at 77-78; Ex. I at 53-54. 6

          The parties here agree that “decryption” is a process by which data is rendered intelligible

   or usable using a key. Apple’s proposed construction ignores, however, that the patents-in-suit

   make clear that decryption and encryption are processes used in connection with digital data.

   See, e.g., Ex. E, 4:61-5:2 (decryptors convert the received information, in part or in whole, to

   other digital information); 7 Ex. A, 148:13-20 (“the program originating studio … transmits a

   television signal that consists of so-called ‘digital video’ and ‘digital audio’, well known in the

   art. Prior to being transmitted, the digital video information is doubly encrypted, by means of

   particular cipher algorithms A and B and cipher keys Aa and Ba, in such a way that said infor-

   mation requires decryption at subscriber stations…”); id., 73:34-36; 101:51-58 (describing tech-

   niques to encrypt “binary information” – i.e., digital information). The specifications are con-

   sistent with the customary understanding of a person of ordinary skill in the art (“POSITA”) as

   of 1981. See Dec. of Alfred C. Weaver, Ph.D.(“Weaver Dec.”), ¶ 29.

          “Encryption” and “decryption” do not encompass the scrambling and descrambling of an

   5
     The PTO Board previously construed the terms “encryption” and “decryption” during ex parte
   reexamination of U.S. Pat. 5,335,277 (the “’277 Patent”) and U.S. Pat. 4,965,825 (the “’825 Pa-
   tent”), patents in the same family and sharing the same specification as the patents-in-suit.
   6
     Additionally, an “encrypted digital information transmission” constitutes “signals sent or
   passed from one location to another location to convey digital information which is in encrypted
   form.” A “decryption key” is “digital data used by a device or method in conjunction with an
   associated algorithm to decipher (render intelligible or usable) encrypted digital information.”
   7
     The ’490 Patent is referred to as the “1981 Specification” and citations to the “1987 Specifica-
   tion” use the ’091 Pat. All the patents-in-suit commonly share the 1987 Specification.
                                                     2
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   analog transmission. The specification unequivocally distinguishes and contrasts analog scram-

   bling/descrambling with digital encryption/decryption in the following passage:

          Various scrambling means are well known in the art for scrambling, usually the
          video portion of analogue television transmissions in such a fashion that only
          subscriber stations with appropriate descrambling means have capacity to tune
          suitably to the television transmission and display the transmitted television image
          information. Encryption/decryption means and methods, well known in the art,
          can regulate the reception and use of, for example, digital video and audio televi-
          sion transmissions, digital audio radio and phonograph transmission, digital
          broadcast print transmission, and digital data communications.

   Ex. A, 143:20-30 (emphasis added). The only other passage in the specification that mentions

   (analog) descrambling further contrasts it with digital decryption:

          It is obvious to one of ordinary skill in the art that the foregoing is presented by
          way of example only and that the invention is not to be unduly restricted thereby
          since modifications may be made in the structure of the various parts without
          functionally departing from the spirit of the invention. For example, the decryp-
          tion cipher key information and/or algorithm instructions and/or the location or
          locations of said key information and/or instructions may be computed in other,
          more complex or less complex, fashions. And for example, the transmitted pro-
          gramming may be processed through fewer than three steps of decryption or more
          than three. And for example, the “Wall Street Week” transmission may be of
          conventional analog television, and the decryptors 107, 224, and 231, may be
          conventional descramblers, well known in the art, that descramble analog tele-
          vision transmissions and are actuated by receiving digital key information.

   Id., 159:46-61 (emphasis added). When read in the context of the entire paragraph, a POSITA

   would understand that the last sentence does not equate descrambling with decryption; rather,

   “conventional (analog) descramblers” are used in place of, or as an alternative to, the “decryp-

   tors, 107, 224, and 231” if and when “the ‘Wall Street Week’ transmission [is] of conventional

   analog television” instead of digital television programming. Weaver Dec., ¶ 30. 8 Indeed, Ap-


   8
     In IPR2014-01532 and IPR2014-01533, the same PTAB panel read this description about the
   replacement of digital decryptors with analog descramblers out of context and, as a result, incor-
   rectly equated descrambling with decryption. That interpretation is subject to pending Requests
   for Rehearing. Similarly, J. Everingham was misled by an out-of-context citation of the same
   sentence when he ruled against limiting the scope of the encrypt/decrypt terms to digital signals.
   See Order, PMC v. Motorola, Inc., C.A. 2:08cv70 (E.D. Tex. Sept. 30, 2011) at 53-53 (Dkt. 271).
                                                   3
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   ple’s expert, Mr. Wechselberger, in a contemporaneous publication, wrote “Encryption Implies

   Digital” and “[i]n the conventional encryption process… a digital bit stream (the information) is

   passed … through an algorithm which transforms the input into a seemingly unrelated output bit

   stream.” Ex. J at PMCAPL00873281 (emphasis added).

          Further, the PTO Board held during reexamination of a related patent that “one of ordi-

   nary skill in the art would recognize that a decryptor performs decryption as opposed to the un-

   scrambling relied on by the Examiner.” Ex. K at 67. Likewise, in an appeal involving PMC’s

   ’825 Patent, the Board concluded that ‟ʻencryption’ and ‘decryption’ are not broad enough to

   read on ‘scrambling’ and ‘unscrambling.’” Ex. I at 53. During both PTO proceedings, the Board

   construed the same “decrypt/decrypting” term in light of the same specification, and the same

   dispute over whether analog descrambling constitutes decryption. See Exs. K at 67-68; I at 53-

   54. In both proceedings, the Board held that decryption “is made specifically with respect to

   digital signals.” Ex. K at 67-68 (emphasis added). And, the Board held that “ʻencryption,’ as it

   would have been commonly defined by one of ordinary skill in the art at the time of filing, re-

   quires a ‘digital’ signal. . . . We conclude that ‘encryption’ and ‘decryption’ are not broad

   enough to read on ‘scrambling’ and ‘unscrambling.’” Ex. I at 27 (emphasis added).

          Finally, express prosecution disclaimers settle this issue in PMC’s favor. In reexamina-

   tion and prior court proceedings involving related patents having the same specification as the

   patents-in-suit, PMC unequivocally disclaimed any construction of “decrypt” that would encom-

   pass descrambling of analog content. See Pegasus Dev. Corp. v. DIRECTV, Inc., C.A.

   1:00cv1020 (D. Del. March 25, 2003) (Dkt. 715) at 2 n.1 (“the court agrees with the plaintiffs

   that the patentee’s statements [about their ‘digital only’ construction of the term ‘decrypting’]

   before the Board … represent an unambiguous disavowal of claim scope.”).

          Apple’s proposed constructions are inconsistent with the intrinsic record and the under-
                                                    4
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   standing of a POSITA because they do not limit “encryption” and “decryption” to operations

   performed on digital transmissions.

        B.      “To Decrypt in a Specific Fashion on the Basis of Said Code”

          The limitation, in the ’635 Patent claims, “to decrypt in a specific fashion on the basis of

   said code” should be construed as “controlling the decrypting process through the selection of a

   decryptor, a decryption key and/or a decryption algorithm based on the received code.” The

   specifications describe embodiments in which, based on a received code, the disclosed apparatus

   performs a decryption process that includes the selection of a decryptor, a decryption key and/or

   a decryption algorithm. For example, the apparatus receives signals that cause the apparatus to

   select a “decryptor/interruptor, 107” from among other decryptors found at the apparatus to per-

   form the decryption. Ex. E, 14:10-27 (“. . . signal or signals enables decryptor/interruptor, 107,

   to decrypt . . .”). The received code also causes the apparatus to select a decryption key for use

   by a decryptor during decryption. See, e.g., id., 21:35-43 (“signal processor, 200, decrypts the

   signal word or words and transfers them to decryptor, 224, to serve as the code for the first stage

   of decryption.”). Similarly, the apparatus may select different decryption algorithms to execute

   based on the received code. Id., 13:24-31 (“The signal or signals may also inform decryp-

   tor/interrupter, 101, how to decrypt or interrupt the programing if decryptor/interrupter, 101, is

   capable of multiple means. The signal or signals may transmit a code or codes necessary for the

   decryption of the transmission.”).

          Apple’s proposed construction improperly restricts the claim by requiring that the re-

   ceived code “specif[y]” the method of decryption. The claim and the specification, however, is

   not so narrow in scope. The plain language of the claim does not place any limitation on the

   content of the received code, but rather, broadly recites that an operation is taken “on the basis of

   said code.” It is improper to import a limitation from the specification into the claims. See
                                                     5
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   SciMed Life Sys., Inc. v. Advanced Cardiovascular Sys. Inc., 242 F.3d 1337, 1340 (Fed. Cir.

   2001); McCarty v. Lehigh Valley R.R. Co., 160 U.S. 110, 116 (1895) (“if we once begin to in-

   clude elements not mentioned in the claim, in order to limit such claim . . . , we should never

   know where to stop.”). Furthermore, the specifications describe other operations that are taken

   on the basis of a received code, such as the selection of a decryption key in separate transmission

   and the passing of the decryption key to a selected decryptor. See supra; see also, e.g., Ex. E,

   15:8-19; 21:44-51; Weaver Dec., ¶¶ 36-37.

        C.      “Determining a Fashion in Which said Receiver Station Locates a
                First Decryption Key”

          The ’091 Patent claim limitation “determining a fashion in which said receiver station lo-

   cates a first decryption key” does not require a construction beyond its plain and ordinary mean-

   ing. It contains non-technical terms that could be readily understood and applied by a lay juror.

   Weaver Dec. ¶ 38. Apple’s proposal to substitute “determining a fashion” with “deciding which

   method” provides no additional clarity to an already straightforward limitation. Furthermore, by

   importing “said receiver” into the limitation, Apple’s construction only creates ambiguity and

   more questions for the jury. Accordingly, this limitation should be interpreted according to its

   plain and ordinary meaning.

        D.      Remote Source/Remote Transmitter Station

          “Remote source” in the ’091 Patent claims means “a source of information or data that is

   at a location different from the receiver station that is connected via a communications path.”

   Similarly, a “remote transmitter station” in the ’635 Patent claims is “a station that is at a loca-

   tion different from a receiver station that transmits programming or other information.” These

   constructions are entirely consistent with the patent specifications. For example, the 1981 Speci-

   fication describes that the transmitter stations have the capability to transmit data to remote sites,


                                                     6
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   which are at different “geographic location or locations.” Ex. E at 8:46-55; 1:49-53 (“The pre-

   sent invention contemplates that . . . certain data collected from such processing and monitoring

   will automatically be transferred to a remote geographic location or locations.”); 3:20-25 (“It is

   also an object of the present invention to provide a record of signals that may be transferred to a

   geographically distant location on command or predetermined instruction.”). The 1987 Specifi-

   cation contrasts “local stations” with “remote stations.” Ex. A at 159:46-160:28 (“determining

   that a local station is not preprogrammed properly … may disable local apparatus selectively…

   from processing embedded SPAM… and may interrogate remote station apparatus…”).

          Further, as Dr. Weaver explains, a POSITA would recognize that a “remote source” and

   “remote transmitter station” in view of the patent specifications is a source or transmitter of in-

   formation that is geographically remote from a receiver station. See, e.g., Ex. A, 130:31-42 (re-

   mote wireless transmitter station is a remote source and a remote transmitter station that wire-

   lessly transmits embedded signal information); 132:62-133:2 (remote wireless transmitter station

   is a remote source and remote transmitter station that wirelessly transmits the Wall Street Week

   program). See also Weaver Dec., ¶ 51. A peripheral device of a receiver station, such as a key-

   board, is not a “remote source.” Id.

          Apple’s constructions fail to account for the term “remote” and could encompass sources

   or transmitter stations that are in the same geographic location as the receiver station.

        E.      “Detecting …”

          Various claims in the ’091, ’635, and 2’649 Patents recite a step of “detecting” infor-

   mation or signal(s). The word “detecting” requires no construction because: (a) its plain mean-

   ing is well understood by a POSITA, and (b) nothing in the intrinsic evidence suggests any spe-

   cial meaning intended by the inventors. Weaver Dec., ¶ 39. Apple, however, insists on constru-

   ing “detecting” to mean “demodulating and identifying.” The inclusion of “demodulating” as a
                                                     7
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   necessary sub-step of “detecting” is inconsistent with the specification, the understanding of a

   POSITA reviewing the specification and prior court decisions.

          In the disclosed embodiments, signal detection is performed by “digital detectors.” See

   Ex. A, FIGS. 2A-2C; 18:58-60 (“… a digital detector, 34, which acts to detect the digital signal

   information embedded in said [video] information”); 19:3-5 (“The digital detector, 37, detects

   signal information embedded in said audio information …”); 19:7-9 (“… a digital detector, 38,

   which detects signal information embedded in any other information portion of said television

   channel signal”). Such signal detection by the digital detectors is shown as being separate from

   demodulation operations. For example, in the TV signal decoder illustrated in FIG. 2A of

   the ’091 Patent, all of the digital detectors 34, 37 and 38 are located downstream from, and re-

   ceive a demodulated “base band signal” outputted by, the amplitude demodulator 32:




   See also id., 128:52-129:7 (describing an inputted channel signal being demodulated by demodu-

   lator 32 before reaching detector 38); 130:46-62 (describing a wireless channel 5 transmission

   processed by demodulator 32 and line receiver 33 before reaching detector 34).

          Only when signal detection is described more generally at the decoder level could de-

   modulation sometimes be part of the “detecting” step. See id., 16:6-9 (“Decoder, 30, which is

   shown in detail in FIG. 2A, and decoder, 40, which is shown in FIG. 2B, detect signal infor-

   mation embedded in the respective inputted television and radio frequencies …”); FIG. 2A
                                                    8
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   (showing demodulators 32 and 35 as part of TV signal decoder 30). But, in other embodiments,

   the specification explains that signal decoders need not include any demodulator. See id., 47:61-

   48:14 (“Receiving said embedded binary information at decoder, 203, (which does not include a

   filter, 31, or a demodulator, 32, because its input is a composite video transmission) causes line

   receiver, 33, automatically to detect and transfer said embedded information to digital detector,

   34, which automatically detects the binary information …”); 162:7-22 (“Said decoders can be

   located in the aforementioned circuitry of their associated apparatus in such fashions that said

   decoders do not require filters, 31, and demodulators, 32 and 35, (in the case of TV signal de-

   coders) …”) (emphasis added). Since the specification describes decoder embodiments both

   with and without any demodulator, and clearly separates digital signal detection from demodula-

   tion on the sub-decoder level, the inventors could not have intended for the “detecting” step nec-

   essarily to include a “demodulating” sub-step. Apple’s attempt to graft “demodulating” onto

   “detecting” or to conflate the two operations is therefore unfounded. See Weaver Dec., ¶¶ 40-42.

          Relatedly, the Federal Circuit previously construed “digital detector” in the ’277 Patent

   as a device that ‘acts to detect the digital signal information’ in other information” (PMC v. ITC,

   161 F.3d 696, 704-706 (Fed. Cir. 1998)), citing with approval a dictionary definition of “detec-

   tor”: “‘(1): a device for determining the presence of a signal (2): a rectifier of high-frequency

   current (as a cat whisker and crystal or a vacuum tube) (3): a device for extracting the intelli-

   gence from a signal (4) DEMODULATOR.’” Id.,704-705 n.12.

          The claims themselves make clear that the most apt characterization of the detector’s

   function is either “determining the presence of a signal” (cf. Ex. A, claims 13, 26 (“detecting …

   the presence of an instruct-to-enable signal”)) or “extracting the intelligence from a signal” (cf.

   Ex. B, claims 13, 20, 32 (“detecting a plurality of signals [in/on an information transmission]”);

   Ex. C, claims 39, 62 (“detecting said message stream [or control information] in said information
                                                     9
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   transmission”)). See also Weaver Dec., ¶ 43; Rpt. and Recom. of Special Master Regarding Cl.

   Constr., Pegasus Dev. Corp. v. DIRECTV, Inc., C.A. 1:00cv1020 (D. Del. March 25, 2003) at

   33-34 (construing “detecting” to mean “extracting intelligence from a signal”); Order, PMC v.

   Motorola, Inc., C.A. 2:08cv70 (E.D. Tex. Sept. 30, 2011) at 33 (construing “detector means” to

   mean a “device for determining the presence of a signal”).

        F.      Programming

          The Court should construe the term “programming” to mean “everything that is transmit-

   ted electronically to entertain, instruct, or inform, including television, radio, broadcast, print and

   computer programming as well as combined medium programming.” Indeed, this definition is

   the same one as provided in the specification of the patents-in-suit. See Ex. A, 6:31-34. Vizio

   agrees with PMC’s proposed construction.

          For the ’091 and 2’649 Patent, Apple’s proposal is essentially the same as PMC’s but fur-

   ther requires that “at least a portion” of the “programming” be “designed for multiple recipients.”

   This is incorrect. First, there is no basis in the claim for imposing such a multi-recipient re-

   quirement: the claims recite “programming at a receiver [or subscriber] station,” “television

   programming,” or “a unit of programming,” none of which requires multiple recipients. Second,

   the specification never limits “programming” to a transmission intended for multiple recipients.

   To the contrary, the 1987 Specification describes “personalized mass media programming” and

   “new user specific mass media [programming]” (Ex. A, Abstract), generation of “user specific

   programming” (id., 22:13-17), and each subscriber viewing “programming that is personalized

   and private” (id., 14:53-57). Third, the unnecessary “designed for” limitation, by tying the defi-

   nition of “programming” to the number of its intended recipients, introduces uncertainties in de-

   termining what transmission or content would constitute “programming.” Weaver Dec., ¶ 62.

   For all of these reasons, Apple’s attempt to impose a multi-recipient limitation on “program-
                                                     10
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   ming” should be rejected.

          As to the term “programming” in the ’635 Patent (entitled to the Nov. 3, 1981 priority

   date), Apple argues that the 1981 Specification offers a different definition in the Abstract:

          Apparatus and methods for automatically controlling programming transmission
          and presentations on television and radio equipment and monitoring the pro-
          gramming transmitted and presented (“Programming” here means everything
          transmitted over television or radio intended for communication of entertainment
          or to instruct or inform.

   Ex. E, Abstract (emphasis added). Even setting aside the PTO’s prohibition at the time against

   using the Abstract as a source for claim construction, 9 the parenthetical explanation – “Pro-

   gramming here means…” – is clearly limited to the context of “programming transmission and

   presentations on television and radio equipment” as stated in the preceding sentence. Nothing

   indicates the inventors intended to limit “programming” to television and radio only. For exam-

   ple, the 1981 Specification confirms that the “programming” can be received “from many

   sources including cable converter box, 133, video cassette recorder, 135, and videodisc player,

   137” (Ex. E, 16:5-7), that identifier signals can be located “in the audio and/or video and/or oth-

   er parts of the programming” (id., 16:25-32), and that the “decrypted programming” (e.g., a

   book) can be passed “to printer or other means” (id., 21:63-67). See also id., FIG. 6E and its

   description at 21:1-22:4 (describing controlled distribution of copyrighted materials, such as

   books, in encrypted programming transmissions). A parenthetical note of limited relevance to

   one sentence in the Abstract cannot override the broader description of “programming” through-

   out the 1981 Specification. Weaver Dec., ¶ 63.

        G.      “Tuning Said Receiver Station to a Channel”

          Claim 26 of the ’091 Patent recites “tuning said receiver station to a channel,” which the


   9
     MPEP § 608.01(b) (Rev. 52, 1977) (“The abstract shall not be used for interpreting the scope of
   the claims.”)
                                                11
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   Court should construe to mean “switching the input of the receiver station to a particular com-

   munications path.” Weaver Dec., ¶ 48. This construction is consistent with the claim language,

   the specification, and dictionary definitions. In sharp contrast, Apple’s overly limiting definition

   (“selecting a frequency for said receiver station to receive programming”), equates the “channel”

   to a particular frequency (or frequency band) and is therefore incorrect.

          First, the claim broadly recites “a channel”; not “a frequency channel” or even “a televi-

   sion channel” or “a cable channel.” A POSITA reviewing the specifications, would not under-

   stand “channel” to be limited to a frequency channel. Indeed, the specifications provide exam-

   ples of other types of channels or communications paths, that are not frequency channels. See,

   e.g., Ex. E, 19:31-41 (describing a microcomputer that receives “by means of a digital infor-

   mation channel,” all closing stock prices applicable that day); Ex. A, 215:56-65 (discussing

   “tun[ing] to the transmission of a selected digital data channel” to receive a news item mes-

   sage); 215:9-14 (discussing the receipt and transmission of programming transmissions via digi-

   tal data channels A and B); see also Weaver Dec., ¶ 47 (POSITA would not understand the in-

   ventors to have intended to equate “channel” with “frequency”).

          Apple’s narrow interpretation of “channel” (essentially as TV or radio frequency bands)

   also contradicts the stated goal of the invention to communicate “programming”—which not on-

   ly may include television or radio but could also include “broadcast print” or “computer pro-

   gramming”—via “multi-channel communications.” See Ex. A, 6:29-46. A POSITA would ap-

   preciate that “broadcast print” or “computer programming” may be transmitted via a communi-

   cation path other than the conventional TV or radio frequency bands. Weaver Dec., ¶ 49.

          Moreover, Apple’s own dictionary citations confirm that the word “channel” generally

   refers to “a path along which signals can be sent; e.g., data channel, output channel.” Ex. O; see

   also Ex. P (defining “channel” in the field of electronic communications to mean “a single path
                                                   12
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   for transmitting electric signals, usually in distinction from other parallel paths”); Ex. Q (defin-

   ing “channel” as “a single path for transmitting electric signals”); Weaver Dec., ¶ 46.

        H.      Downloadable Code/Locating Code 10

          The key dispute between the parties is whether the term “downloadable code,” as recited

   in the ’635 Patent claims, should be construed to cover “data or instructions,” as PMC proposes,

   or only “instructions,” as Apple has suggested. Similarly, Apple proposes to construe “locating

   code” from the ‘635 Patent claims as limited to “locating one or more instructions in the digital

   transmission.” PMC contends that “locating code” is readily understood and no construction is

   needed. The intrinsic record also makes clear that “downloadable code” could include, not just

   instructions, but also “data”: “The signals for which the decoders are monitoring are likely to be

   unique digital codes that may identify each programing or data unit received and the source of

   each. They may identify networks, broadcast stations, channels on cable systems, and possibly

   times of transmission. . . . In the case of data transmitted to the microcomputer, they may be

   unique codes that identify the source and suppliers of the data. In the case of data received at

   the printer, they may identify publications, articles, publishers, distributors, advertisements,

   etc.” Ex. E, 15:57-16:2; Ex. A, 151:16-56. For the same reasons, the “code” in the term “locat-

   ing code” should be construed so that it encompasses both instructions and data. Apple’s con-

   structions would directly conflict with the teachings of the specification. Even the excerpts that

   Apple relies upon as support contradicts its proposed construction, describing various types of

   “code” as containing, not just instructions, but also “information.” See, e.g., Ex. A, 87:54-88:7;

   see also Weaver Dec., ¶ 60. Further, there is no reason to import “in the digital transmission”


   10
     PMC objects to Vizio’s attempt to construe the term “code” in Phase 1, which is limited to
   overlapping terms in the two cases. “Code” is not a standalone term at issue in the consolidated
   actions. “Downloadable Code” appears only in the ’635 Patent which is not asserted against Vi-
   zio; and Vizio did not timely disclose the standalone term “code” pursuant to P.R. 4-1 and 4.2.
                                                   13
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   into the term “locating code.”

        I.        “Communicating Information on a Use of Said Identified Signal”
                  and “Wherein” Clauses

             Claim 14 of the ’088 Patent recites, in plain English, “passing said signal from said pro-

   cessor to said output port, wherein a way the signal is passed from said output port is based on

   said step of identifying” and “communicating information on a use of said identified signal,

   wherein the use of said identified signal comprises information of the passing of said identified

   signal based on said step of passing.” Nothing in the intrinsic evidence suggests anything spe-

   cial or ambiguous about these claim elements so as to require any construction. In addition, Ap-

   ple’s proposed definitions are incorrect.

             For example, Apple argues that “wherein a way the signal is passed from said output port

   is based on said step of identifying” means “wherein the method by which the signal is transmit-

   ted from said output port is based on said step of identifying a signal from at least one of said

   plurality of input ports.” Apple’s construction essentially replaces the word “way” with “meth-

   od.” Apple’s paraphrasing unnecessarily narrows the scope of this claim element, however, be-

   cause it restricts the signal-passing options to the manner of transmission, whereas the specifica-

   tion also describes passing the output signals to different destinations or along different commu-

   nication paths based on signal type or identity. See Ex. E, 9:63-68 (“[The controller, 20] in-

   structs processor or monitor, 12, how to identify what signals to pass externally and where to

   pass them and what signals to transfer to buffer/comparator, 14.”); 17:39-46 (“Signal processor

   apparatus have the ability to identify instruction and information signals in one or more inputted

   television and radio programing transmissions, identify and discriminate among one or more

   pieces of external equipment to which such signals are addressed, and transfer such signals to

   such equipment as directed.”). Apple’s proposed definition improperly excludes the signal des-


                                                     14
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   tination or communication path (i.e., where to pass the signal) as an alternative to the manner of

   transmission (i.e., how to pass the signal). In contrast, PMC’s proposal (to the extent the Court

   concludes construction is necessary)—“the communication path or manner through which the

   signal is transmitted from the output port is based on what type of signal it is”—reasonably cap-

   tures the full scope of this claim element. See also Weaver Dec., ¶ 89.

          Regarding the step of “communicating information on a use of said identified signal,”

   Apple’s definition—“ transmitting information from said receiving apparatus about a use of said

   identified signal”—improperly adds the italicized limitation which is not required by the claim

   language. Although the specification does describe the external transmission of signal usage in-

   formation from a receiver station to “a remote data collection site” (Ex. E, 18:30-42), the “com-

   municating” could, and in fact must, also occur internally within the receiver station, for exam-

   ple, at least prior to the external transmission of the same information. See id., 17:10-24 (“Every

   instruction or information signal transmitted from processor, 140, to microcomputer, 142, is also

   transmitted to signal processor, 130, to be handled, recorded, and transmitted to a remote site

   with all other monitor information.”); 4:55-5:22 (describing both internal and external transfer of

   signals); Ex. A, 16:56-58 (“… and determines whether [signals] are to be transferred to external

   equipment or to buffer/comparator, 14, or both.”); 16:54-17:12, 17:51-18:2. There is no basis to

   limit the “communicating” step to external transmission only. See Weaver Dec., ¶ 90; see also

   Interactive Gift Express, Inc. v. CompuServe, Inc., 256 F.3d 1323, 1335-44 (Fed. Cir. 2001) (re-

   jecting claim constructions for improperly importing limitations from specification into claims).

          Apple’s claim that the clause “wherein the use of said identified signal comprises infor-

   mation of the passing of said identified signal based on said step of passing” is indefinite also

   lacks merit. In the context of the entire claim, a POSITA would appreciate that “the use of said

   identified signal” is short for the “information on the use of said identified signal” recited in the
                                                     15
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   preceding element. This “wherein” clause thus explains in plain English the composition of the

   signal usage information, i.e., “information of the passing of said identified signal [collected]

   based on said step of passing.” For example, the specifications teach monitoring the use of sig-

   nals passed between two components by recording those signals with a signal processor. Ex. E,

   17:10-24 (“Signal divider, 139, illustrates another type of monitoring that signal processing ap-

   paratus and methods can facilitate. Signal divider, 139, monitors the use of signals rather than

   the use of programing. Every instruction or information signal transmitted from processor, 140,

   to microcomputer, 142, is also transmitted to signal processor, 130, to be handled, recorded, and

   transmitted to a remote site with all other monitor information. In a predetermined fashion, sig-

   nal processor, 130, identifies and marks the source of signals as coming from a device, 139,

   monitoring signal usage rather than programing usage and viewership …”). See Weaver Dec., ¶

   91. Therefore, the “wherein” clause concerning “the use of said identified signal” is unambigu-

   ous and supported by the specifications.

        J.      “Input Ports” and “Output Port”

          Claim 14 of the ’088 Patent describes that a “multimedia receiving apparatus for gather-

   ing information on use of signals” includes “a plurality of input ports for receiving multimedia

   signals” and “an output port.” “Input ports” should be construed as “defined or designated con-

   nections or paths that feed received programming or instructions into a receiver for processing.”

   “Output port” should be construed as “a defined or designated connection or path used by one

   device or circuit to output signals to another device or circuit.”

          The intrinsic evidence supports these constructions. For example, the 1981 Specification

   describes that the apparatuses’ processors and buffers receive “inputs from each of the receiv-

   er/detector lines and evaluate information continuously.” Ex. E, 5:2-11 (emphasis added).

   These receiver/detector lines (i.e., connections or paths) provide the processor and buffers with
                                                     16
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   programming and instructions received at the apparatus. See Ex. E, 4:55-5:4 (“input transmis-

   sions may be received,” and “transf[erred] . . . to receiver/decoder/detectors [to] identify signals

   encoded in programing transmissions.”); 5:2-11; see also Ex. A, 15:47-17:8. Similarly, the “in-

   put means” receive and “feed” programming and instructions into various receivers, such as

   “video recorder/players, 76 and 78, and/or to equipment” for further processing, consistent with

   PMC’s proposed construction. Ex. E, 5:2-11; 10:24-52; Ex. A, 11:56-67; 15:47-50; 166:27-35.

   The specifications also describe an output port, i.e., a connection or path used by a device or cir-

   cuit to output signals to another device or circuit, to output signals to other devices such as

   “computers, videotape recorders and players, etc.” and “internal digital recorders that receive and

   store in memory the recorded information.” Ex. E, 5:2-11; see also Ex. A, 16:54-63

   (“[C]ontroller, 12, identifies the external apparatus to which the signal or signals are addressed

   and transfers them to the appropriate port or ports for external transmission.”); 20:1-31 (“. . . said

   controller, 39, 44, or 47, has one or more output ports for communicating signal information to

   said apparatus.”).

          Apple’s proposal to limit the scope of “output port” and “input ports” to “physical con-

   nections” is contradicted by the specification, which describes that the disclosed apparatuses re-

   ceive from and transmit to sources using wireless connections and paths. See, e.g., Ex. E, 4:56-

   60 (“The channels may convey television, radio, or other transmission frequencies. The input

   transmissions may be received by means of antennas or from hard-wire connections;”); 10:31-

   38 (“Microwave transmissions can be received by microwave antenna, 57, …”); Ex. A, 11:39-

   41 (“said network transmission means may include landlines microwave transmissions, a satel-

   lite transponder, or other means.”). Additionally, the specifications disclose wireless stations

   that transmit wirelessly. See, e.g., Ex. A, 130:31-42 (remote wireless station wirelessly transmits

   embedded signal information); 132:62-133:2 (“The remote wireless station transmitting the
                                                    17
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   channel 13 transmission is transmitting the same ‘Wall Street Week’ program that is transmitted

   by the remote cable station…”); 130:31-42 (intermediate wireless transmitter station). A POSI-

   TA would understand that such wireless transmissions would be both wirelessly received

   through an input port and wirelessly transmitted through an output port. Weaver Dec., ¶ 94.

        K.      Multimedia Signals 11

          The term “multimedia signals,” as used in claim 14 of the ’088 Patent, should be con-

   strued to mean “signals that include information in multiple forms of media such as audio, video,

   computer programming, and data (e.g., information, control signals, instructions).” Apple’s pro-

   posal is similar, but omits computer programming and data from the listing of exemplary forms

   of media and instead includes “text.” Apple’s construction conflicts with the intrinsic evidence

   which includes computer programming and data, as forms of media for multimedia signals. See,

   e.g., Ex. E, 19:31-20:10 (the FIG. 6C embodiment is a multimedia presentation that coordinates a

   graphic of the viewer’s stock portfolio’s performance generated based on input data (received

   stock prices), television programming (the Wall Street week program), and computer instructions

   embedded with the Wall Street Week program). See also Weaver Dec., ¶ 95. A construction

   that omits computer programming and data from types of media for “multimedia signals,” as

   proposed by Apple, would be incorrect as it would omit one of the disclosed embodiments. See

   MBO Labs., Inc. v. Becton, Dickinson & Co., 474 F.3d 1323, 1333 (Fed. Cir. 2007).

        L.      Processor/Control Processor

          “Processor” should be construed according to its plain and ordinary meaning to a POSI-



   11
      PMC objects to Vizio’s attempt to construe the term “multimedia” in Phase 1, which is limited
   to disputed terms that overlap between the two cases. “Multimedia” is not a standalone claim
   term at issue in the consolidated actions. “Multimedia signals” appears only in the ’088 Patent
   which is not asserted against Vizio; and Vizio did not timely disclose the standalone term “mul-
   timedia” pursuant to P.R. 4-1 and 4-2.
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   TA as “a device that performs operations according to instructions.” 12 Vizio agrees with this

   construction. In sharp contrast, Apple’s proposed constructions do not require that processors or

   control processors operate according to instructions. Apple’s constructions are overly broad

   therefore and lead the terms to cover a host of other devices that would never be understood to be

   a “processor” or “control processor” by a POSITA. See Weaver Dec., ¶ 80.

          Apple’s reliance on the PTAB’s decision in connection with IPR2014-01532 concerning

   U.S. Pat. 7,801,304 is misplaced. Ex. R. There, the PTAB relied on a Webster’s dictionary def-

   inition from 1988 defining a “processor” as “the part of the computer system that operates on

   data.” Id., 11. While it is true that a processor can be a “part of a computer system that operates

   on data,” there are many other parts of a computer system that are not “processors” even though

   they “operate on data.” For example, most computer systems have memory devices that read

   and write data and, thus, “operate on data.” But, a POSITA would not consider a memory device

   to be a “processor.” See Weaver Dec., ¶ 81. Similarly, most computer systems have keyboards

   for inputting data (an operation on data), but, again, a POSITA would not consider a keyboard to

   be a “processor.” A “processor” is distinguished from these other devices because it operates on

   data based on the instructions it executes. Id.

          Moreover, a POSITA reading the patent claims, in light of the specifications, would rec-

   ognize a “processor” and “control processor” as devices distinct and separate from other devices,

   including decryptors. Weaver Dec., ¶ 82. Claim 14 of the ’088 Patent specifically requires that

   “said processor [be] programmed for” performing certain operations. In other words, the

   claimed “processor” executes instructions. The specifications describe that the “control proces-

   sor,” 39J, performs operations on the data in accordance with instructions. See, e.g., Ex. A,

   12
     Similarly, a “control processor,” as recited in the 2’649 Patent claims, is “a digital electronic
   device or circuit that controls other devices or circuits by operating on control information ac-
   cording to instructions.”
                                                     19
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   118:10-13 (“Executing said decrypt-process-and-meter-current-00-header-message instructions

   causes control processor, 39J, then, to transfer to decryptor, 39K, the SPAM information of said

   second message in the following fashion.”); 8:34-39 (“particular signal processing apparatus

   (hereinafter called the ‘signal processor’) detect signals and, in accordance with the instructions

   in the signals and preprogramming in the signal processor, decrypt and/or record and/or control

   station apparatus by means of the signals and/or discard the signals.”).

        M.      Controllable Device

          Claims 13, 20, and 32 of the ’635 Patent recite “passing … [decrypted or enabled] sig-

   nal(s) to a controllable device” and “controlling said controllable device” based on either “in-

   structions” (claims 13 and 32) or “information” (claim 20) in the passed signal(s). PMC’s pro-

   posed definition—“A device that can be regulated or commanded based on instructions”—is

   consistent with the plain meaning of the phrase “controllable device.” Nothing in the intrinsic

   record requires a different interpretation.

          In contrast, Apple’s proposal—“a device controlled based on instructions in a transmis-

   sion”—is incorrect. First, the claim requires merely that the device be “controllable” (i.e., can be

   controlled) rather than being actually “controlled.” Second, and more importantly, the phrase

   “controllable device” itself does not specify the source of instructions by which the device can be

   controlled. To require such instructions to be “in a transmission” is also unnecessary because the

   subsequent “controlling” step in the respective claims specifies the source of the instructions or

   information used as the basis of control. Third, nothing in the claims or specifications requires a

   “controllable device” always to be controlled by transmitted instructions. For example, the spec-

   ification describes a “programmable random access memory controller 20” controlling a number

   of “controllable devices” (Ex. E, 8:20-9:19) without requiring instructions from the controller to

   originate from an incoming transmission. Weaver Dec., ¶¶ 57-58; SciMed, 242 F.3d at 1340
                                                   20
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   (one of the “cardinal sins” of claim construction is importing a limitation from the specification

   into the claims). Therefore, Apple’s definition of “controllable device” should be rejected.

        N.      “Instruct-to-Enable Signal”

          The Court should construe “instruct-to-enable signal” to mean “a signal carrying infor-

   mation used by the receiver station to enable the implementation of the enumerated operation.”

   This interpretation is supported by the intrinsic evidence. Claim 26 of the ’091 Patent, for exam-

   ple, describes that the instruct-to-enable signal includes “channel” information that enables the

   receiver station to “automatically tun[e] . . . to a channel designated by said instruct-to-enable

   signal.” The specifications similarly describe that the receiver stations receive instruct-to-enable

   signals carrying information used to enable the implementation of various operations. For in-

   stance, the stations receive “program-enabling-messages” that enable them, e.g., to decrypt the

   “Wall Street Week” program transmission, process the information of the meter-monitor seg-

   ment of the program-enabling-message, and perform other operations. Ex. A, 152:12-153:39,

   see also id., 148:56-65 (“Receiving any given instance of please-fully-enable-WSW-on-CC13-

   at-particular-8:30 information causes controller, 20, in a predetermined fashion, to select particu-

   lar WSW-on-CC13-at-particular-8:30 information in said received information, record said se-

   lected information at particular memory, and execute particular receive-authorizing-info-at-

   appointed-time instructions.”); 144:47-145:13; 149:28-39; 156:28-41.

          Apple’s proposed construction improperly limits the scope of the claimed “signal” to “a

   signal that provides an enabling instruction.” Neither the claim, nor the specifications limit the

   content of the instruct-to-enable signal to “instructions.” The 1987 Specification describes that

   the instruct-to-enable signals broadly include “information.” See, e.g., Ex. A, 156:4-9 (“Trans-

   mitting said message causes the line receiver, 33, of decoder, 30, to receive the embedded SPAM

   information of that particular 2nd-WSW-program-enabling-message (#7) that is embedded on
                                                    21
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   said line Q; the detector, 34, to detect the digital information of said message; and the control-

   ler, 39, to process said information.”); see also id., 149:28-39; 152:41-48, 155:42-156:3 (content

   of “enabling-message[s]” including certain information). Similarly, claim 26 of the ’091 Patent,

   as described above, recites that the instruct-to-enable signal includes “channel” information, ra-

   ther than any instruction. Moreover, Apple’s proposed construction does not add clarity to the

   disputed limitation, as it merely replaces the term “instruct-to-enable” with the term “enabling

   instruction.”

        O.         Message Stream

          PMC’s and Apple’s constructions of this term differ in only one respect: PMC grounds

   the meaning of the term to “a series of digital data packages, each data package having a recog-

   nizable structure.” Apple, on the other hand, attempts to broaden the term to encompass not only

   digital, but also analog, data. Apple’s construction should be rejected because the asserted

   claims of the 2’649 Patent are expressly directed to applied methods for processing digital televi-

   sion programming. See, e.g., 2’649 Patent, Claim 1 (“A method of processing . . . digital televi-

   sion signals . . .”); see also Ex. A, 18:34-39; 8:46-50; 143:1-159:19; 148:13-16 (“the program

   originating studio that originates the ‘Wall Street Week’ transmission transmits a television sig-

   nal that consists of so-called ‘digital video’ and ‘digital audio,’ well known in the art.”); Weaver

   Dec., ¶¶ 75-79. Nowhere is “analog” mentioned in the language of the claims.

          PMC’s and Vizio’s constructions of this term differ in that Vizio attempts to limit the

   definition of the term “message stream” and its constituent term “message” to one embodiment

   described in the specification. As Vizio concedes, however, the specification defines a “mes-

   sage” to include “all of the SPAM (signal processing apparatus and method) information[]

   transmitted in a given transmission[.]” Ex. A, 30:49-51. Vizio’s construction fails to accommo-

   date the specification: “More specifically, a message consists of all the SPAM information,
                                                    22
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   transmitted in a given transmission, from the first bit of one header to the last bit transmitted be-

   fore the first bit of the next header.” Id., 30:49-52. This language neither limits nor equates “all

   the SPAM information” with “control information.” Nor does Vizio’s construction comport with

   the fact that Figure 2I is merely “one instance of a SPAM message stream,” id., 9:59 (emphasis

   added); “FIG. 2J shows one instance of a message that consists of just a header and an execution

   segment and fills one byte signal word completely,” id., 9:60-62 (emphasis added); and “FIG. 2K

   shows one instance of a message that contains execution and meter-monitor segments and fills a

   whole number of byte signal words completely but ends with one full byte signal word of pad-

   ding bits because the last byte signal word of command information is an EOFS [end of file sig-

   nal] word[,]” id., 9:63-67 (emphasis added).

          Rather, together, Figures 2I, 2J, and 2K illustrate various embodiments of a “message,"

   each being a digital data package having a structure and carrying digital data, which, in the cited

   figures, may include a header, a command, an execution segment, an information segment, an

   EOFS, and/or a meter-monitor segment. A “message” is not simply “all of the control infor-

   mation transmitted in a given transmission,” as Vizio proposes, because although “control infor-

   mation [can be] detected in a message stream,” see Ex. C, Claim 64, “cadence information is [al-

   so] detected in a message stream,” see id., Claim 70. See also Weaver Dec., ¶¶ 65-69. In con-

   trast, PMC’s proposed construction, which focuses on the structure of a “message,” should be

   accepted in lieu of Vizio’s construction, because it does not seek to limit the structure to just one

   instance of certain exemplary constituents.

          Phillips bars courts from limiting claims to examples given in the specification, Phillips

   v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005) (en banc), and Vizio’s approach defies

   Phillips. The phrase “one instance” in the specification clearly introduces the makeup of a “mes-

   sage” as three species of a “message.” Ex. A, 9:59-67. Because “header,” “command,” and “ex-
                                                    23
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   ecution segment” are mere “example[s] of a broader genus” of a “message,” the Court should

   reject Vizio’s proposed construction “rather than limit[] the genus to the exemplary species.”

   Catalina Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 811 (Fed. Cir. 2002).

        P.      Control Information/Control Signal

          Apple contends that neither term requires construction. Vizio agrees, but proposes in the

   alternative that “control information” means “information that controls processing.” PMC pro-

   poses that “control information” is “information, data or instructions that affect, control, or ena-

   ble processing.” Both Vizio and PMC agree that “control signal” simply means “a signal that

   carries control information (as “control information” is to be construed by the Court).”

          The language of the asserted claims themselves provides persuasive intrinsic support for

   PMC’s construction. For example, Claim 1 of the 2’649 Patent is directed to controlling the tim-

   ing of communicating television programs and storing information evidencing the availability,

   use or usage of television programming. Claim 1 discloses that the “selecti[on] and output[],”

   “processing,” and “stor[age]” of signal information are all affected by “control information.”

   Similarly, Claim 39 of the 2’649 Patent is directed to a method of processing two or more televi-

   sion signals simultaneously using the multiple processors of the receiver station through the use

   of “control information” and “register memories.” Claim 39’s recitation of “control infor-

   mation” as enabling the “compari[son],” “input[],” “processing” and “display” of digital televi-

   sion signals and programming data also supports PMC’s construction that “control information”

   is any information, data or instructions that affect, control, or enable processing. Ex. A, 21:50-

   52; 23:27-29; 23:48-53; 25:59-26:12; 62:60-63:28; 267:9-23; see also Weaver Dec., ¶ 55.

          PMC’s proposed construction also is supported by the historical context. In 1987, the

   time of the 2’649 Patent, it was not conventional or routine practice to affect, control, or other-

   wise enable the management of STET digital television signals through the use of embedded
                                                    24
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   control information. Weaver Dec., ¶ 56. Compared to the conventional receiver stations at the

   time, which could only passively receive broadcast content, the asserted claims of the 2’649 Pa-

   tent offered significant technical advantages because they enabled the operations of receivers to

   be regulated remotely using “control information” transmitted along with digital media content.

   This allowed for flexibility in receiver content consumption which was one of the technological

   challenges associated with the streaming of digital media content on demand to individual re-

   ceivers. Id.

        Q.        Register Memory

          The parties agree that a “register memory” has the function of “temporarily storing in-

   formation for use in later operations.” The parties disagree, however, whether a “register

   memory” refers to a specific device, such as “a memory in a processor,” or rather, describes

   structural elements such as a dedicated capacity and location—“a memory space location.” The

   specification supports the construction of “register memory” in terms of its capacity and location.

          In the present invention, any microprocessor, buffer/comparator, or buffer can be
          adapted and preprogrammed to detect end of file signals. At any given SPAM ap-
          paratus that is so adapted and preprogrammed, particular dedicated capacity exists
          for said detecting. Said capacity includes standard register memory or RAM ca-
          pacity, well known in the art, including three particular memory locations for
          comparison purposes, one particular memory location to serve as a counter, and
          three so-called ‘flag bit’ locations to hold particular true/false information.”

   Ex. A, 35:34-43. The same excerpt from the specification contradicts Vizio’s and Apple’s

   shared construction that “register memory” is “memory in a processor” because it makes clear

   that “register memories” can exist “at any apparatus,” such as a “microprocessor, buff-

   er/comparator, or buffer.” Weaver Dec.,¶ 87.

        R.        Cadence Information

          The parties appear to agree as to the content of “cadence information” (i.e., headers,

   length tokens, and/or end-of-file signals) but disagree whether such content should be construed,

                                                   25
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   on the whole, as “fields in a data package” or “information.” Consistent with its other proposed

   constructions, which seek to construe terms according to their structure rather than exemplary

   content, PMC construes “cadence information” to refer to a general structure that includes as its

   content headers, length tokens, and end-of-file signals, which together comprise “fields in a data

   package.” Apple and Vizio would rather call such content “information,” but such a nebulous

   term adds nothing to clarify what “cadence information” is. Weaver Dec., ¶ 84; see also Sulzer

   Textil A.G. v. Picanol N.V., 358 F.3d 1356, 1366 (Fed. Cir. 2004) (purpose of claim construction

   is to provide the jury with clear guidance).

          Importantly, the specification describes transmitting “cadence information” as “cadence

   signals.” See Ex. A, 43:29-33 (“The preferred embodiment has the advantage of requiring that

   long cadence signals that require time consuming processing be transmitted only with some mes-

   sages and then only at times when processing speed is of relatively low priority.”). In the instant

   context, the transmission of signals refers to “data packages”—such as “messages” in a “message

   stream”—that are being sent, received, and processed. Because “cadence information is detected

   in a message stream,” see Ex. C (2’649, Patent Claim 70), it, like a “message stream,” is made up

   of “data packages.” Thus, “headers, length tokens, and end-of-file signals” are—structurally and

   appropriately—the constituent “fields” in a “data package.” Weaver Dec., ¶ 85.

        S.      “Stored Function Invoking Data”

          Both Apple and Vizio assert that this term is indefinite without providing any explanation

   or support. “A patent’s claims, viewed in light of the specification and prosecution history,

   [must] inform those skilled in the art about the scope of the invention with reasonable certainty.

   The definiteness requirement, so understood, mandates clarity, while recognizing that absolute

   precision is unattainable.” Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129

   (2014). Defendants thus bear a heavy burden to show indefiniteness by clear and convincing ev-
                                                   26
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   idence. Young v. Lumenis, Inc., 492 F.3d 1336, 1345 (Fed. Cir. 2007).

          “Stored function invoking data” is “data stored in memory that is used as a basis for caus-

   ing preprogrammed functions stored at the receiver station to be performed.” Ex. A, 23:34-53;

   12:4-13:4 (“control invoking instructions”); 49:10-31 (“controlled-function invoking infor-

   mation”); Weaver Dec., ¶ 74. The specification describes a feature of the invention to be signal

   processing that depends on the interaction between transmitted “information that causes pro-

   cessing at the subscriber stations” and the “information preprogrammed at the various stations

   that controls the SPAM processing at each station.” Ex. A, 143:60-66. In order “to invoke any

   given controlled function at any given [receiver] station, the received binary information . . .

   must match preprogrammed controlled-function-invoking information [stored in memory] at

   each [receiver] station. This feature permits each [receiver] station to be preprogrammed with

   station specific controlled-function-invoking information that differs from station to station

   (which means that no single SPAM execution segment could invoke a given function at all sta-

   tions without first being processed at selected stations to render its information to correspond to

   the station specific preprogrammed invoking information of said stations).” Id., 143:66-144:10.

   Extrinsic support also demonstrates that the phrase is amenable to construction. Webster’s Ninth

   New Collegiate Dictionary (9th ed. 1988) includes a definition for “invoke”—“to put into effect

   or operation”—that is in harmony with PMC’s proposed construction. Ex. S. Likewise, the Dic-

   tionary of Computers, Information, Processing, and Telecommunications (2d ed. 1987) also ap-

   propriately defines “invoke” to mean “to activate a procedure in one of its entry points.” Ex. T.

        T.      Digital Television Signals

          The specification makes plain that PMC’s construction is the correct one: “the program

   originating studio that originates that ‘Wall Street Week’ transmission transmits a television sig-

   nal that consists of so-called ‘digital video’ and ‘digital audio,’ well known in the art,” Ex. A,
                                                    27
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   148:13-16; and “said program . . . ceases transmitting a television signal of digital video and dig-

   ital audio,” id.,154:4-6. The relevant claim language also makes clear that “digital television

   signals” include both digital video and audio signals. Ex. U, Claim 1 (“processing said selected

   plurality of said digital television signals to communicate video and audio signals to a television

   monitor”). A POSITA would not understand the term “digital television signals” to mean televi-

   sion signals that include digital information, as Apple contends. Such a construction is overly

   broad and could encompass analog television signals that simply include merely some digital

   information, and is inconsistent with the patent specification and the understanding of a POSITA

   reviewing the specification. Weaver Dec., ¶ 75. Moreover, there is simply no basis for Vizio to

   import the terms “data” and “mass medium” into a construction for “digital television signals.”

   And although Vizio cites the file history of the 2’649 and ’650 Patents in an attempt to support

   its construction, file history evidence takes a backseat to the “clarity of the specification,” Phil-

   lips, 415 F.3d at 1315, which, for this term, cannot be more clear.

        U.      Digital Video Signals

        The specification is clear and both PMC and Vizio agree that “digital video signals” are

   “signals encoded as discrete numerical values instead of an analog representation.” Vizio, how-

   ever, attempts to broaden “digital video” to include all “visual information,” such as graphics,

   captions, and/or text that has been encoded digitally. This is inappropriate. “Video” is not the

   same as “visual,” Vizio’s proposed construction unjustifiably swaps one term for another (“visu-

   al information” for “digital video”), provides no additional value, and would needlessly confuse

   the jury. Weaver Dec., ¶¶ 76-77; cf. Sulzer Textil, 358 F.3d at 1366 (purpose of claim construc-

   tion is to provide the jury with clear guidance).

          The specification also does not support such an expansion of “video signals” to encom-

   pass all “visual information.” The phrase “visual information” is not found in the specification.
                                                       28
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   Vizio wants to rewrite the claim terms to build its case for invalidity, but there is no cause for

   swapping one common English term for another. This is particularly true here because “video

   signals” and “visual information” are neither interchangeable nor synonymous. The latter is

   much broader than the former. Weaver Dec., ¶ 78.

            In contrast, Apple proposes an entirely different construction asserting that “digital video

   signals” are “video signals that include digital information,” which improperly broadens the

   claim term to encompass analog signals that simply include some digital information in an at-

   tempt manufacture an invalidity defense. Apple’s construction is improper because it is clear

   from the intrinsic record that the inventors, when using the terms “digital television signals,”

   “digital video signals” and “digital audio signals,” intended that the word “digital” modify the

   words “television signals,” “video signals” and “audio signals” and intended that the signals be

   “digital”– not analog. Weaver Dec., ¶ 79. Further, the specifications make clear the inventors

   were referring to the transmission of digital television programming, well known in the art. See

   supra.

        V.       Television Receiver

            A “television receiver” is simply an electronic device that receives television program-

   ming. That is the obvious and plain meaning of the term, which has no “elaborate” technical

   meaning and whose ordinary meaning is apparent. Phillips, 415 F.3d. at 1314. Apple’s and Vi-

   zio’s attempts to limit a TV receiver to its capability to tune to a specific frequency is an obvious

   attempt to manufacture a non-infringement position.

            The plain language of the claims supports PMC’s interpretation. For instance, independ-

   ent claims 39, 54, and 67 of the 2’649 Patent do not limit reception of television programming to

   broadcast transmissions and do not specify that a TV receiver must be able to tune to specific

   frequencies. See Ex. C, claims 39, 54 and 67. Apple and Vizio ignore the plain claim language
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   and propose to require TV receivers also to be frequency tuners. But the specification makes

   clear that TV tuners are different structures in the disclosed signal processing apparatus than TV

   receivers. Contrast Ex. A, FIGS. 1 and 3, 10:41-43 (“Via conventional antenna, the station re-

   ceives a conventional television broadcast transmission at television tuner, 215”), 12:23-27

   (“Tuner, 215, receives this television transmission, converts the received television information

   into audio and composite video transmissions, and transmits the audio to monitor, 202M, and the

   video via divider, 4, to microcomputer, 205, and decoder, 203.”) with FIG. 6A, 166:25-45 (“The

   means and methods for transmitting conventional programming are well known in the art. The

   station receives programming from many sources. Transmissions are received from a satellite by

   satellite antenna, 50, low noise amplifiers, 51 and 52, and TV receivers, 53, 54, 55, and 56. . . .

   Programming can also be manually delivered to said station on prerecorded videotapes and vide-

   odiscs.”). Thus, a TV receiver is not required to “tune[] to a specific television frequency” in

   order to receive television programming—that is merely one embodiment. A TV receiver is

   generally an electronic device capable of “receiving television programming”—without regard to

   how it receives that programming. Weaver Dec., ¶ 72.

          Accordingly, the Court need not construe this term as requiring anything other than its

   plain and ordinary meaning. O2 Micro Int'l Ltd. v. Beyond Innovation Tech. Co., Ltd., 521 F.3d

   1351, 1362 (Fed. Cir. 2008) (“district courts are not (and should not be) required to construe eve-

   ry limitation present in a patent’s asserted claims”).

   III.   CONCLUSION

          PMC respectfully requests that the Court reject Defendant’s proposed constructions and

   adopt its constructions. PMC submits that its proposed constructions are consistent with the lan-

   guage of the claims, the specifications, the prosecution histories and the understandings of a

   POSITA at the relevant times.
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                                Respectfully submitted,



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                                    CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who are deemed to have consented to electronic

   service are being served on May 17, 2016 with a copy of this document and all documents in

   support thereof, via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel

   of record will be served by electronic mail, facsimile transmission and/or first class mail on this

   same date.


                                                         /s/ Elizabeth L. DeRieux
                                                         Elizabeth L. DeRieux
